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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8
      NOHEMI TERESA ESTRADA, et al.,
                                                                Cause No. C18-5530RSL
 9
                             Plaintiffs,

10
                  v.                                            ORDER OF DISMISSAL

11
      WASHINGTON STATE DEPARTMENT
      OF SOCIAL AND HEALTH SERVICES, et
12
      al.,

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                             Defendants.

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            On September 20, 2019, after giving plaintiffs two opportunities to amend their
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17   complaint, the Honorable Ronald B. Leighton, retired United States District Judge, ordered

18   plaintiffs to pay the filing fee within twenty one days or face dismissal of their claims. Dkt. # 20.
19   The order was resent to a new address at plaintiff Nohemi Estrada’s request, but no payment was
20
     received. Instead, plaintiffs appealed the denial of in forma pauperis status to the Ninth Circuit.
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     Dkt. # 22. The appeal was dismissed as untimely (Dkt. # 24), and plaintiffs’ motion for
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     reconsideration was denied on September 29, 2020 (Dkt. # 26). This matter was transferred to
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24   the undersigned when Judge Leighton retired.

25          Having reviewed the record and the orders on appeal, the above-captioned matter is
26   hereby DISMISSED for failure to pay the filing fee.
27

28   ORDER OF DISMISSAL - 1
            Case 3:18-cv-05530-RSL Document 28 Filed 12/03/20 Page 2 of 2



 1        Dated this 3rd day of December, 2020.
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 3                                         Robert S. Lasnik
                                           United States District Judge
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28   ORDER OF DISMISSAL - 2
